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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA                            UNDER SEAL
        v.
 EDDY BLIZZARD                                                 1:21-mj-1119 TMD
                                                     Case No. __________




                           AFFIDAVIT IN SUPPORT OF
                  CRIMINAL COMPLAINTS AND ARREST WARRANTS

       I, Loi Cao, being duly sworn, hereby declare as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

been employed with the FBI since October 2008. From November 2014 until the present, I have

been assigned to investigate violations of federal law involving a range of white-collar criminal

violations. I have completed several computer internet fraud in-service training courses. During

these courses, I received training concerning the use of computers, IP addresses, and email servers,

among other things. I am also a Certified Public Accountant and have been trained in the use of

numerous financial computer systems and databases. Over the course of several investigations, I

have consulted with other cyber professionals in the law enforcement field regarding the

evidentiary value of computers, storage devices, email and cell phones in conjunction with

financial and criminal investigations

        2.      The facts set forth in this affidavit are based upon my personal observations, my

training and experience, and information obtained from other law enforcement personnel and

witnesses. This affidavit is intended to show merely that there is sufficient probable cause for the


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 requested warrants and does not purport to set forth all of my knowledge of the investigation into

 this matter. Unless specifically indicated otherwise, all conversations and statements described

 in this affidavit are related in substance and in part only.

            3.      I make this affidavit in support of a criminal complaint and arrest warrant for the

 individual listed below. Based on the following facts, there is probable cause to believe that, in

 the District of Maryland and elsewhere, EDDY BLIZZARD committed wire fraud in violation

 of 18 U.S.C. § 1343 and aggravated identity theft in violation of 18 U.S.C. § 1028A.

                                            BACKGROUND

           4.       EDDY BLIZZARD (“BLIZZARD”) is a resident of the state of Maryland and

was employed at various financial institutions as an investment advisor. BLIZZARD held several

licenses that allowed him to operate as a registered broker and a registered investment advisor per

the Financial Industry Regulatory Authority (“FINRA”). He passed several examinations in his

field to include the Series 7 General Securities Examination, the Series 26 Investment Company

Products/Variable Contracts Principal Examination, and the Series 66 Uniform Combined State

Law Examination. By passing these examinations, BLIZZARD could work as a broker selling

securities, i.e. stocks, bonds, mutual funds, and other investment products. They also allowed

BLIZZARD to work as an investment advisor who is paid to provide advice about securities to

clients.

           5.       Your affiant’s review of the FINRA website revealed that from 2001-2003,

BLIZZARD was employed by UBS Paine Webber, Inc. In 2003 he was employed by All First

Brokerage Corporation, and from 2003-2014 he was employed by M&T Securities, Inc. From

2014-2017 he was employed by SunTrust Investment Services, Inc. BLIZZARD’s employment

with M&T and SunTrust were both in the state of Maryland.



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          6.       Victim R.M. was a resident of the state of Maryland and was 75 years old in January

2020 and had only received a ninth-grade education. 1 On December 12, 2019, R.M. was

interviewed as part of this investigation. R.M stated to investigators that beginning in 1963, R.M.

went to work for a Baltimore, Maryland based commercial air-conditioning company. R.M. was

illiterate and could neither read nor write. However, despite the inability to read and write, R.M.

enjoyed a successful career installing commercial grade air conditioning units around the country

and was offered supervisory positions at the company, but had to decline due to his illiteracy. R.M.

was able to continue as an air conditioning technician by memorizing facts and figures and

conceptualizing things visually. In order to make extra money, R.M. told investigators he routinely

worked approximately 15-30 hours of overtime per week during his career.

          7.       In 2003, after approximately 40 years of service with the commercial air

conditioning company, R.M. took a buyout and retired. R.M. spent the first six months of

retirement crabbing and fishing while living in a rowhome in Arbutus, Maryland. After that initial

six months, R.M. decided to invest his retirement funds in order to provide some inheritance for

R.M.’s grandchildren, so R.M. sought investment advice from the institution with which he had

depository accounts, M&T Bank.

                         BLIZZARD EMBEZZLES R.M.’S LIFE SAVINGS

          8.       Sometime after R.M. began investing with M&T Bank, BLIZZARD began

working at M&T, and R.M. met BLIZZARD. BLIZZARD worked at the Catonsville, Maryland

branch and R.M. began using BLIZZARD as his financial advisor. R.M. stated that in or about

2005, BLIZZARD “went on his own” meaning that BLIZZARD began working as an

independent financial advisor and asked R.M. if R.M. wanted to leave M&T Bank and use



1
    R.M. passed away on March 20, 2020.

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BLIZZARD as a full-time financial advisor.      BLIZZARD told R.M. that it would be a while

before he had his own office, but he would continue to work out of the Catonsville, Maryland

branch of M&T Bank. Your affiant knows, based on a review of publicly available FINRA records,

that BLIZZARD never went to work as an independent financial advisor.

       9.       Approximately once a month, R.M. would drive from his new home in Chester,

Maryland on the Eastern Shore to meet with BLIZZARD in Catonsville, Maryland approximately

one hour away; however, R.M. and BLIZZARD would meet in BLIZZARD’s car, not the M&T

branch office. While R.M. did not think it was appropriate, R.M. continued to meet with

BLIZZARD in that way. These meetings lasted 30-45 minutes and R.M. was never told why they

were meeting in BLIZZARD’s car.

       10.      After having invested through BLIZZARD for a while, BLIZZARD began asking

R.M. for signed blank checks. R.M. thought this began sometime after purchasing R.M.’s Chester,

Maryland home, which occurred in 2010. R.M. recalled giving BLIZZARD 15-20 signed blank

checks. BLIZZARD filled in the rest, but R.M. did not know what the checks were for. When

R.M. received the cancelled checks in the mail, he knew BLIZZARD had written them out since

he recognized BLIZZARD’s handwriting.

       11.      When R.M. needed cash, R.M. went to the local M&T Bank branch and wrote out

a check to “CASH” since R.M. could not use an ATM due to R.M.’s illiteracy. While R.M. was

illiterate, R.M. could copy words. On approximately 12 different instances, R.M. went to the bank

to withdraw cash and was told there was not enough money in the account. R.M. would then call

BLIZZARD’s cell phone ending in 0164 and explain there was a deficiency in R.M.’s account.

BLIZZARD would then tell R.M. to wait a day or two and there would be funds in the account




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to withdraw. R.M. never asked BLIZZARD why there were no funds in the account or how

those funds were replenished.

      12.     During the years of investment with BLIZZARD, R.M. believed that R.M.’s

retirement funds were protected, meaning they would not lose value – a fact that was told to R.M.

numerous times by BLIZZARD and BLIZZARD’s wife. R.M. also believed that R.M.’s

mortgage was being paid by BLIZZARD.

      13.     R.M. realized there was a problem in August of 2019. While preparing to go on a

family vacation, R.M. attempted to withdraw $1,000-$1,500 in cash from the local M&T Bank

and was told there was not enough funds in the account. R.M. attempted to contact BLIZZARD

on his cell phone but got no answer and attempted to contact BLIZZARD for one week thereafter

but received no response. R.M. then went to BLIZZARD’s Perry Hall, Maryland residence and

attempted to talk to BLIZZARD in person. R.M. knocked on the front and back door of

BLIZZARD’s residence, but no one came to the door. While R.M. was there, R.M. received a

voicemail from BLIZZARD. BLIZZARD stated the neighbors had called him and were

complaining about the banging on the door, thinking R.M. was attempting to rob BLIZZARD’s

residence.   BLIZZARD further explained that all of R.M.’s money was gone, and that

BLIZZARD had attempted suicide at his parent’s Myrtle Beach, South Carolina home, and was

currently hospitalized.

      14.     On September 19, 2019, BLIZZARD sent an email to R.M.’s son. R.M.’s son had

sent a message via social media to BLIZZARD’s wife enquiring about what happened to R.M.’s

money. In his email, BLIZZARD stated “I’m so sorry for what has transpired and honestly this

is a nightmare. I really can’t email too much because I am monitored but I made some bad

investments that I could never predict would of [sic]ended the way they did. And I tried so hard



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to get it back for everyone. I would never ever intently hurt [R.M.]. He’s been my close friend

for almost 12 years now. He’s been to all my kids [sic]birthdays, and I have many of times invited

him up for the holidays. He is family. I honestly love him like a dad. And I think that’s why I

have tried to End my life. Failing a friend like him, losing my wife, kids is honestly why I am here

right now. I’m going to miss talking to him on a weekly basis so much…” Your affiant believes

that BLIZZARD’s reference to being “monitored” was related to previous statements to R.M.

that BLIZZARD was in a hospital.

       15.     As part of this investigation, BLIZZARD’s mother and stepfather were

interviewed. BLIZZARD’s mother stated she had only met R.M. a few times, that she had never

owned a boat and R.M. had never purchased a boat for (or from) her. BLIZZARD’s mother also

stated the last time BLIZZARD was at her home was the summer of 2019 and that he never

attempted suicide there, nor had he been committed for psychiatric evaluation. BLIZZARD’s

mother indicated BLIZZARD had visited with his children and then returned home to Maryland

without incident.    BLIZZARD’s mother also stated that was the last time she had seen

BLIZZARD in person.

       16.     Your affiant believes that BLIZZARD was not hospitalized at the time, as it is

unclear how BLIZZARD had a phone while being hospitalized and could be contacted by

neighbors and, in turn, contact R.M. Your affiant knows, based on experience, that most hospitals

typically prohibit cell phone and social media use by patients who have been committed for

mental evaluation based on an attempted suicide.

             FINANCIAL ANALYSIS OF BLIZZARD’S AND R.M.’S ACCOUNTS

       17.     A review of R.M.’s depository and investment accounts showed that between

January 2013 and August 2019 there were a total of 242 distributions totaling approximately $1.4



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million, from R.M.’s retirement accounts. Of which, 129 distributions totaling $1.2 million were

specifically requested from R.M.’s retirement accounts rather than regular systematic annuity

payments. After taxes and surrenders fees were deducted from those requested payments,

approximately $1 million was deposited into R.M.’s M&T Bank account ending in 0347. Your

affiant believes that these requested withdrawals from the investment accounts of R.M. were made

by BLIZZARD since R.M. was illiterate and could not navigate a website, enter a log-in or

password, or fax a request to the institution. Since BLIZZARD was an investment advisor who

routinely would make transactions on behalf of clients, had knowledge of R.M.’s accounts, as well

as R.M.’s personally identifying information, BLIZZARD had the knowledge and information

necessary to make transfers from R.M.’s investment accounts without R.M.’s knowledge.

Pursuant to a Grand Jury subpoena, Fidelity provided login information from R.M.’s,

BLIZZARD’s, and BLIZZARD’s wife account. During the period from on or about May 10,

2017 to on or about November 8, 2018, there were numerous times that the same IP was used to

log on to all three accounts. On multiple occasions, the same IP address was used to login to

BLIZZARD and R.M.’s account minutes apart.

       18.    This review also revealed that from April 2016 to April 2019 BLIZZARD

deposited approximately 112 checks drawn on R.M.’s account into various bank accounts at M&T

Bank and Capital One that where held by BLIZZARD jointly with his wife or individually. These

checks totaled approximately $848,000 and were written to BLIZZARD or BLIZZARD’s wife.

A review of these checks showed that almost all had comments written on the memo section

indicating various purposes such as payment of property taxes, construction, boat payments, and

down payments for a new house. Among these checks was one check dated December 6, 2016

written to “Eddy Blizzard” for $17,500. Hand-written in the memo section for that check were the



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words, “Eddy Parents Boat Payment #2.” This check was deposited into BLIZZARD’s M&T

bank account ending in 8704 on December 8, 2016. The check was returned due to not sufficient

funds in R.M.’s account.     The check was redeposited into BLIZZARD’S same account on

December 16, 2016. In April 2017, there was another check dated written to “Eddy Blizzard

(Parents)” for $19,500. Hand-written in the memo section for that check were the words, “Final

Boat & Fish Payment Thank You.” That check was deposited into BLIZZARD’s M&T Bank

account ending in 1926.

       19.     R.M. also received a letter from the IRS but did not know what it said because of

his illiteracy and because BLIZZARD had instructed R.M. to turn over all mail to BLIZZARD.

R.M.’s relatives later determined that R.M. owed approximately $63,000 in federal income tax

due to disbursements from R.M.’s retirement accounts that were stolen by BLIZZARD.

       20.     This investigation was also able to determine that BLIZZARD had accounts with

Venmo, and PayPal, linked to BLIZZARD’s email account. Your affiant knows, based on his

knowledge, training, and experience, that PayPal and Venmo are money transfer systems that

allow for instantaneous, or near instantaneous, transfer of funds from a linked bank account or

debit card. These systems are linked to an email account that the user must input to obtain access

and to receive confirmations of money sent or received.          As part of this investigation,

BLIZZARD’s PayPal and Venmo accounts were obtained. A review of those accounts showed

that on November 18, 2016, BLIZZARD sent a transfer of funds via PayPal for $6,490 from

BLIZZARD’s joint M&T Bank account ending in 8704 to a third party in Charlotte, North

Carolina with the initials E.B. That PayPal transfer was funded by a $12,350 check written on

R.M.’s M&T Bank account that was deposited on November 17, 2016 into Blizzard’s joint M&T

Bank account ending in 8704. Your affiant knows, based on the interview with R.M. and a member



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of R.M.’s family, that R.M. was not seeking to purchase a new home, nor had R.M. purchased a

second home to rehabilitate.

       21.    On January 9, 2017, a check for $25,000 was written on R.M.’s M&T Bank account

and deposited into BLIZZARD’s joint account at M&T Bank account ending in 8704. The memo

section said, “Third Payment Boat and Landscape House #3.” On January 10, 2017, BLIZZARD

sent three PayPal transfers totaling approximately $4,500 and one Venmo transfer for $2,500.

Your affiant knows, based on interviews with R.M. and a member of R.M.’s family, that R.M. was

not seeking to purchase a new home, nor had R.M. purchased a second home to rehabilitate.

       22.    A review of accounts operated jointly or individually by BLIZZARD showed that

from April 2016 through April 2019, there were approximately 861 cash withdrawals totaling

$513,695. Based on the nature of cash transactions, your affiant does not know how those funds

were used; however, your affiant knows, based on his knowledge, training, and experience, that

money to fund investments accounts is typically not paid in cash. and BLIZZARD’s statement to

R.M.’s son that BLIZZARD had made some “bad investments” for R.M. was false. In or about

the fall of 2019, R.M.’s home was put into the foreclosure process because of lack of payment

which R.M. thought was being handled by BLIZZARD.




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                                        CONCLUSION

       23.    Based on the information set forth in this affidavit, I respectfully submit there is

probable cause that EDDY BLIZZARD committed the offenses of wire fraud in violation of 18

U.S.C. § 1343 and Aggravated Identity Theft in violation of 18 U.S.C. § 1028A.

                                                    _______________________________
                                                    Loi Cao
                                                    Special Agent, FBI



Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
Fed. R. Crim. P. 4.1 and 4(d) this ________ day of ________, 2021.



                                                    _______________________________
                                                    Hon. Thomas M. DiGirolamo
                                                    United State Magistrate Judge




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